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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

In re: NEURONTIN MARKETING AND MDL Docket No. 1629
SALES PRACTICES LITIGATION

Master File No. 04-10981
Judge Patti B. Saris

THIS DOCUMENT RELATES TO:

THE GUARDIAN LIFE INSURANCE
COMPANY OF AMERICA vy. PFIZER INC.,
04 CV 10739 (PBS) and

AETNA, INC. V. PFIZER INC., 04 CV 10958
(PBS)

CERTIFICATION FOR ADMISSION PRO HAC VICE PURSUANT TO
LOCAL RULE 83.5.3 OF THE UNITED STATED DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

Pursuant to Local Rule 83.5.3 of the United States District Court for the District
of Massachusetts, I, Richard Bemporad, hereby certify that:

1. Iam a member of the law firm of Lowey Dannenberg Bemporad &
Selinger, P.C., which is located at The Gateway-1 1" Floor, One North Lexington
Avenue, White Plains, New York 10601-1714. I was admitted to the bar of the State of

New York in 1976. Iam also admitted to practice in the United States Court of Appeals
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for the Second Circuit, the United States District Court for the Southern District of New
York, the United States District Court for the Eastern District of New York, the United
States District Court for the District of Connecticut, the United States District Court for

the District of Michigan, and the United States District Court for the Central District of

Illinois.

2. I am in good standing in every jurisdiction where I have been admitted to
practice.

3. There are no disciplinary proceedings pending against me as a member of

the bar in any jurisdiction where I am admitted to practice, and I have never been subject
to any such disciplinary proceeding in the past.
4. I have read and am familiar with the Local Rules of the United States

District Court for the District of Massachusetts.

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Signed under the pains and penalty of perjury this A day of February 2005.

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fo. Kf LAL 4
LOTMA EEL
Richard Bemporad “ ‘
